

Matter of Salgado (2020 NY Slip Op 07839)





Matter of Salgado


2020 NY Slip Op 07839


Decided on December 23, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., LINDLEY, CURRAN, BANNISTER, AND DEJOSEPH, JJ.



[*1]MATTER OF DANIELLE P. SALGADO, AN ATTORNEY.  Order of interim suspension entered pursuant to 22 NYCRR 1240.9. (Filed Dec. 14, 2020.)



Order of interim suspension entered pursuant to 22 NYCRR 1240.9.
 (Filed Dec. 14, 2020.)









